

People v Dennard (2019 NY Slip Op 08103)





People v Dennard


2019 NY Slip Op 08103


Decided on November 8, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 8, 2019

PRESENT: SMITH, J.P., CENTRA, PERADOTTO, CURRAN, AND TROUTMAN, JJ. (Filed Nov. 8, 2019.) 


MOTION NO. (581/07) KA 04-01075.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vDOMINIC DENNARD, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








